            Case 4:08-cr-00314-SWW Document 112 Filed 01/22/10 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                           *
                                                    *
                                                    *
vs.                                                 *       No. 4:08CR00314 SWW
                                                    *
LORENA CERVANTES, ET AL.                            *

                                               ORDER

        Before the Court is a motion to suppress filed by defendants Reveriano Madrigal and Jesus

Murillo.1 The United States responded to the motion. After careful consideration, and for the

reasons that follow, the motion will be denied.

        Defendants move to suppress the out-of-court identification made by Wildlife Officer

William Ryan Warner on August 7, 2008. Defendants were arrested on August 5, 2008, in Izard

County, Arkansas, following surveillance by law enforcement officers including Warner. In his

Accident/Investigation Report2, Warner relates that on August 1, 2008, he and Corporal Chris

Majors located a marijuana manufacturing operation in Izard County.                 While conducting

surveillance on August 3, 2008, Warner observed two Hispanic males, one in a sleeveless black shirt

and another in an orange-striped shirt. Warner saw them pouring water from containers by the back

of an S-10 truck located next to a cabin at approximately 6:00 p.m. They disappeared from sight

at around 6:15 p.m. Officer Warner continued to conduct surveillance on the property on August

4-5, 2008.




        1
         Defendant Jesus Murillo moved to join defendant Madrigal’s motion to suppress. The Court granted
the motion [docket entry 103].
        2
         Attachment to Def. Madrigal’s Mot. to Suppress.
        Case 4:08-cr-00314-SWW Document 112 Filed 01/22/10 Page 2 of 3




       On August 5, 2008,Warner observed one Hispanic female and four Hispanic males from

approximately 8:30 a.m. to 10:00 a.m. Officer Warner and Corporal Majors left for some time to

lead two other officers to the observation point. Upon their return, Warner saw two male subjects

“coming down the ridge road. One was wearing a light blue shirt and the other was wearing a

bluish-gray polo shirt and camo hat and had a mustache.” The one wearing the bluish-gray polo was

carrying a machete. Subsequently, Warner observed the male in the bluish-gray polo carrying a

green pick ax over his shoulder walking toward the marijuana patches.

       On August 7, 2008, James Humphrey of the 16th Drug Task Force asked Warner to come to

the Sheriff’s Office to see if he could identify the suspects he saw pouring the water jugs on August

4 and the one carrying the pick ax on August 5. Warner identified Jesus Murillo as the individual

he saw pouring the water, and Reveriano Madrigal as the individual carrying the pick ax toward the

marijuana patches.

       Defendants ask the Court to suppress any and all of Warner’s out-of-court identification

testimony, arguing his identification was unreliable and tainted because it did not involve a line-up

and was made by a single show-up.

       [R]eliability is the linchpin in determining the admissibility of identification
       testimony . . .. The factors to be considered . . . include the opportunity of the
       witness to view the criminal at the time of the crime, the witness’ degree of attention,
       the accuracy of his prior description of the criminal, the level of certainty
       demonstrated at the confrontation, and the time between the crime and the
       confrontation. Against these factors is to be weighed the corrupting effect of the
       suggestive identification itself.

Manson v. Brathwaite, 432 U.S. 98, 114 (1977). “An identification is unreliable if its circumstances

create a very substantial likelihood of irreparable misidentification.” United States v. Martinez, 462

F.3d 903, 910 (8th Cir. 2006)(internal quotation marks omitted).


                                                  2
          Case 4:08-cr-00314-SWW Document 112 Filed 01/22/10 Page 3 of 3




         Officer Warner had the opportunity to observe the suspects on the property for several hours

over a period of days. The government states Warner will testify that he used binoculars in his

observation of the defendants and that Madrigal was the only person with a mustache observed on

the property. He described defendants’ clothing and race. Officer Warner was not a “casual or

passing observer, as is so often the case with eyewitness identification. [He] was a trained law

enforcement officer on duty . . .[who] knew that his claimed observations would be subject later to

close scrutiny and examination at any trial.” Manson, 432 U.S. at 115. The government states

Warner is prepared to testify that he has no doubt that the individuals he observed at the property

were the defendants he identified only days later at the Sheriff’s Office. The reliability of the

identifications are further supported by the fact that defendants were arrested as they were leaving

the property under surveillance by Warner, and that, according to the government, defendants

admitted in an interview with a DEA special agent that they were visiting the property.

         The Court finds that under all of the circumstances it cannot be said that there is “‘a very

substantial likelihood of irreparable misidentification.’ Short of that point, such evidence is for the

jury to weigh.” Id. at 116 (internal citation omitted). In any event, defense counsel has the

opportunity to protect defendants’ rights by “attacking the reliability and accuracy of the

identification through cross-examination.” United States v. Bissonette, 164 F.3d 1143, 1146 (8th Cir.

1999).

         IT IS THEREFORE ORDERED that the motion to suppress [docket entry 94] is denied.

         DATED this 22nd day of January, 2010.



                                                     /s/Susan Webber Wright
                                                   UNITED STATES DISTRICT JUDGE

                                                  3
